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                                                     THE HONORABLE JOHN C. COUGHENOUR
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 6
                               UNITED STATES DISTRICT COURT
 7
                              WESTERN DISTRICT OF WASHINGTON
 8                                      AT SEATTLE

 9      UNITED STATES OF AMERICA,                         CASE NO. CR12-0237-JCC
10
                              Plaintiff,                  ORDER
11
                v.
12
        DANIEL YOHANNES,
13
                              Defendant.
14

15          This matter comes before the Court on Defendant’s motion to amend judgment (Dkt. No.

16 627). On February 22, 2013, Mr. Yohannes was sentenced to 9 months for a supervised-release

17 violation in Case No. CR06-0026-RSL. On June 18, 2013, Mr. Yohannes was sentenced in this

18 case to 24 months for the same underlying conduct. (Dkt. No. 447.) Both judgments make clear
19 the sentences were ordered to run concurrently. However, the defendant is apparently not

20 receiving credit against the sentence imposed by this Court for the time between his sentencing

21 in CR06-0026 and his sentencing in this case. Accordingly, the Court amends his sentence to 20

22 months to ensure that the defendant’s sentence reflects the Court’s intent.

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     ORDER
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 1          DATED this 5th day of November 2013.

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 7
                                                   A
                                                   John C. Coughenour
 8                                                 UNITED STATES DISTRICT JUDGE

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     ORDER
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